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                  THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE:                                     :
 COLEMAN A. GREEN                           :     BK. No. 20-11598-mdc
                       Debtor               :
                                                  Chapter No. 13
 WELLS FARGO BANK, NATIONAL
 ASSOCIATION AS TRUSTEE FOR
 SOUNDVIEW HOME LOAN TRUST 2007-
 OPT2, ASSET-BACKED CERTIFICATES,
 SERIES 2007-OPT2                                 11 U.S.C. §362
                       Movant
                  v.
 COLEMAN A. GREEN
                       Respondent

  MOTION OF WELLS FARGO BANK, NATIONAL ASSOCIATION AS TRUSTEE FOR
  SOUNDVIEW HOME LOAN TRUST 2007-OPT2, ASSET-BACKED CERTIFICATES,
 SERIES 2007-OPT2 FOR RELIEF FROM AUTOMATIC STAY UNDER §362 PURSUANT
                   TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by Debtor COLEMAN A. GREEN AKA COLEMAN GREEN.

               1.      Movant is WELLS FARGO BANK, NATIONAL ASSOCIATION AS

TRUSTEE FOR SOUNDVIEW HOME LOAN TRUST 2007-OPT2, ASSET-BACKED

CERTIFICATES, SERIES 2007-OPT2.

               2.      Debtor, COLEMAN A. GREEN AKA COLEMAN GREEN is the owner of

the premises located at 1113 STEWART PLACE, PHILADELPHIA, PA 19116-4304, hereinafter

known as the mortgaged premises.

               3.      Movant is the holder of a mortgage on the mortgaged premises.

               4.      Debtor's failure to tender monthly payments in a manner consistent with the

terms of the Mortgage and Note result in a lack of adequate protection.

               5.      Movant wishes to institute foreclosure proceedings on the mortgage because of

Debtor's failure to make the monthly payment required hereunder.

               6.      The foreclosure proceedings to be instituted were stayed by the filing of the

instant Chapter 13 Petition.
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               7.      As of June 4, 2020, Debtor has failed to tender post-petition mortgage

payments for the months of April 2020 through June 2020. The monthly payment amount for the

months of April 2020 through June 2020 is $1,127.39 each, for a total amount due of $3,382.17. The

next payment is due on or before July 1, 2020 in the amount of $1,127.39. Under the terms of the

Note and Mortgage, Debtor has a continuing obligation to remain current post-petition and failure to

do so results in a lack of adequate protection to Movant.

               8.      Movant, WELLS FARGO BANK, NATIONAL ASSOCIATION AS

TRUSTEE FOR SOUNDVIEW HOME LOAN TRUST 2007-OPT2, ASSET-BACKED

CERTIFICATES, SERIES 2007-OPT2, requests the Court award reimbursement in the amount of

$1,231.00 for the legal fees and costs associated with this Motion.

               9.      Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               10.     Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               11.     PHH MORTGAGE CORPORATION services the underlying mortgage loan

and note for the property referenced in this Motion for Relief for WELLS FARGO BANK,

NATIONAL ASSOCIATION AS TRUSTEE FOR SOUNDVIEW HOME LOAN TRUST 2007-

OPT2, ASSET-BACKED CERTIFICATES, SERIES 2007-OPT2 (the noteholder) and is entitled to

proceed accordingly. Should the Automatic Stay be lifted and/ or set aside by Order of this Court or if

this case is dismissed or if the debtor obtains a discharge and a foreclosure action is commenced or

recommenced, said foreclosure action will be conducted in the name of WELLS FARGO BANK,

NATIONAL ASSOCIATION AS TRUSTEE FOR SOUNDVIEW HOME LOAN TRUST 2007-

OPT2, ASSET-BACKED CERTIFICATES, SERIES 2007-OPT2 (the noteholder). WELLS FARGO

BANK, NATIONAL ASSOCIATION AS TRUSTEE FOR SOUNDVIEW HOME LOAN TRUST

2007-OPT2, ASSET-BACKED CERTIFICATES, SERIES 2007-OPT2 (the noteholder) has the right
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to foreclose because Noteholder is the original mortgagee or beneficiary or assignee of the security

instrument for the referenced loan. Noteholder directly or through an agent has possession of the

promissory note and the promissory note is either made payable to Noteholder or has been duly

endorsed.

                WHEREFORE, Movant respectfully requests that this Court enter an Order;

                a.     modifying the Automatic Stay under Section 362 with respect to 1113

STEWART PLACE, PHILADELPHIA, PA 19116-4304 (as more fully set forth in the legal

description attached to the Mortgage of record granted against the Premises), as to allow Movant, its

successors and assignees, to proceed with its rights under the terms of said Mortgage; and

                b.     Movant specifically requests permission from this Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

                c.     Granting any other relief that this Court deems equitable and just.

                                                     /s/ Mario J. Hanyon, Esquire
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